Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 1 of 20 PageID #: 139




                   EXHIBIT B
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 2 of 20 PageID #: 140
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 3 of 20 PageID #: 141
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 4 of 20 PageID #: 142
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 5 of 20 PageID #: 143
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 6 of 20 PageID #: 144
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 7 of 20 PageID #: 145
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 8 of 20 PageID #: 146
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 9 of 20 PageID #: 147
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 10 of 20 PageID #: 148
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 11 of 20 PageID #: 149
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 12 of 20 PageID #: 150
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 13 of 20 PageID #: 151
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 14 of 20 PageID #: 152
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 15 of 20 PageID #: 153
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 16 of 20 PageID #: 154
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 17 of 20 PageID #: 155
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 18 of 20 PageID #: 156
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 19 of 20 PageID #: 157
Case 1:21-cv-00005-MN Document 14-2 Filed 04/12/21 Page 20 of 20 PageID #: 158
